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IN THE UNITED STATES DISTRICT COURT. Saveyuct oF TE IXAS

FOR THE NORTHERN DISTRICT OF TEXAS #7 ">
FORT WORTH DIVISION | yor 0
UNITED STATES OF AMERICA cree RE
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v. No. 4:22-MJk.921. ne
XAVIER DESEAN WATSON

a/k/a “Xavier”, “XAECO”, “ghostspce”,
“nomore.wonderland”, “and “Xavier Strapz”

CRIMINAL COMPLAINT
Alleged Offenses:

I, Special Agent J. Massey, being duly sworn, state the following is true and correct to
the best of my knowledge and belief:

Between on or about March 8, 2022 and October 26, 2022, in the Fort Worth
Division of the Northern District of Texas and elsewhere, defendant Xavier
Desean Watson, also known as Xavier, XAECO, ghostspc, nomore. wonderland,

and Xavier Strapz, did knowingly possess and transfer machineguns in violation
of 18 U.S.C. §§ 922(0) and 924 (a)(2).

Probable Cause:

1. I am a special agent (SA) with the Bureau of Alcohol, Tobacco, Firearms, and
Explosives (ATF), assigned to Dallas Field Division — Fort Worth Field Office. I have been
a SA with ATF for about 13 years. I have participated in and conducted hundreds of
investigations involving firearm-related offenses and violations of the federal firearms
statutes, including illegal firearms trafficking; firearm possession by prohibited persons;
illegal machinegun possession; illegal dealing in firearms without a license; illegal
possession and use of firearms in connection with drug-trafficking and violent offenses; and

the illegal manufacturing of firearms, machineguns, and firearm silencers or mufflers.

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Based on my training and experience, I am familiar with the federal firearm statutes and the
various means and methods by which the previously listed firearm offenses are facilitated
and committed by individuals, conspiracies, and criminal enterprises. The statements set
forth in this affidavit are true and correct to the best of my knowledge and belief but are not
inclusive of all the evidence or information in the case.

2. As used throughout this complaint, the term, machinegun, means a firearm that shoots
automatically more than one shot, without manual reloading, buy a single function of the
trigger. The term, machinegun, includes any part or combination of parts designed and
intended to convert a firearm into a machinegun. The term, Glock switch, means a specific
part or combination of parts that are designed to convert a semiautomatic Glock pistol into a
machinegun. And the term, AR auto sear, means a part of combination of parts designed to
convert AR-style semiautomatic rifles and pistols into machineguns.

3. In F ebruary of 2022, ATF received information from multiple sources that Jose Corral
Santillan was involved in the repeated sale of Glock switches. The investigation of Santillan
revealed he conspired with Montavion Jones and Ayoob Wali to possess and distribute
hundreds of 3D-printed Glock switches and AR auto sears. The investigation included
multiple audio- and video-recorded controlled buys from Jones and Santillan for hundreds of
Glock switches and AR auto sears, as well as firearms equipped with these devices, using an
ATF undercover (UC) agent and an ATF confidential informant (CI). From this, the
investigation discovered Wali supplied Santillan with the 3D-printed Glock switches and AR

auto sears.

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4, On or about May 3, 2022, ATF executed federal search and arrest warrants for
Santillan and Wali. In Wali’s bedroom, ATF recovered around 172 3D-printed Glock
switches and AR auto sears. Wali and Santillan were arrested. Santillan pled guilty to
possessing and transferring Glock switches and AR auto sears and was sentenced to 57
months in prison in case no. 4:22-CR-181-O. Wali was indicted for possessing and
transferring Glock switches and AR auto sears and is set to plead guilty in case no. 4:22-CR-
207-Y. Jones was arrested on or about June 8, 2022. He pled guilty to possessing and
distributing Glock switches and AR auto sears and is awaiting his sentencing hearing in case
no. 4:22-CR-229-Y.

5. In Mirandized interviews, Wali initially claimed he found the machinegun conversion
devices in a vehicle he purchased. Throughout his interviews, Wali made numerous
conflicting and false statements. At many points, Wali refused to provide pertinent details
regarding the source of supply of the 3D-printed machinegun conversion devices. Over the
course of the interview, Wali claimed, in summary, that his contact for the 3D-printed
machinegun conversion devices was a black male, around 30 years old, possibly known to
Wali as “Xavier.” Wali said “Xavier” drove a white sedan, possibly a Toyota Corolla.
Wali showed ATF Task Force Officer (TFO) Bryan Cline his cell phone, and TFO Cline
observed text messages between Wali and an individual identified in Wali’s phone contacts

as “Xavier Strapz” with the associated phone number, 214-989-8647.

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6. TFO Cline also saw a series of photographs and videos showing the 3D-printed
machinegun conversion devices and showing them being 3D printed, which Wali had
received in text messages from the 8647 number. Wali provided TFO Cline and me with
coordinates retrieved from the text messages with the 8647 number, for an apartment
complex where Wali claimed he picked up machinegun conversion devices and was told
where to deliver them. I later input these coordinates (32.86121N, 96.54552W) into a
Google Earth program and learned the coordinates were for the Hubbard’s Ridge apartment
complex on Point Boulevard in Garland, Texas. This apartment complex was on a small
peninsula on Lake Ray Hubbard, which I recognized as a location where Wali’s cell phone
had been located while I was monitoring his real-time location data, which had been
obtained pursuant to a federal search warrant. Wali claimed this was the primary location
where he had picked up machinegun conversion devices.

7. Wali provided a second address for a place on Grigsby Road in Dallas, Texas, as a
secondary location where he had picked up machinegun conversion devices. Wali claimed
he never sold the devices but was merely instructed to pick them up and then given a
location to drop them off. Wali’s descriptions of this process were vague and lacked specific
detail. Wali provided the above-referenced photographs and videos to TFO Cline via text
message, and then deleted the text messages with the 8647 number from his cell phone.

8. Thereafter, I examined the contents of Wali’s cell phone pursuant to a federal search
warrant. I searched open-source and law-enforcement databases. I reviewed phone records.

I spoke with other law enforcement officers.

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I reviewed the contents of Instagram records obtained from a federal search warrant in a
prior investigation involving machinegun conversion devices. And I conducted physical
surveillance. From all of this, I identified Xavier Desean Watson, also known as Xavier
and Xavier Strapz to Wali, as the likely manufacturer and source of the 3D-printed
machinegun conversion devices.

9. On or about October 7, 2022, I interviewed a Denton Police Department CI, who is
cooperating with law enforcement in the hopes of gaining credit toward pending federal
charges. The CI said he/she met a black male, known to the CI as “Xavier,” about three
years ago. Based on the totality of the description, the specific details, and context, I
recognized “Xavier” as Watson.

10. The CI recalled that two or three years ago, Watson was involved in selling stolen
firearms. The CI said that about a year ago, Watson acquired a 3D printer and began
manufacturing and selling machinegun conversion devices and personally made firearms,
commonly referred to as “ghost guns.” The CI showed me a video of Wali shooting a pistol
that appeared to function as a machinegun. The CI admitted to introducing Wali to Watson,
and that Wali had purchased 3D-printed machinegun conversion devices from Watson. I
observed Snapchat messages between the CI and an account the CI identified as belonging to
Watson, which included text-message communications between the C] and Watson in

which Watson stated he had machinegun conversion devices to sell or provide.

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11. Acouple days later, the Denton CI provided me with map coordinates the CI said
he/she received from Watson via text message. The CI explained that he/she had contacted
Watson via text message with the intent of meeting with Watson at Watson’s residence.
The CI explained that Watson had provided the CI with a link to a map of coordinates the Cl
understood to be the location of Watson’s residence. I viewed these coordinates in a
mapping application and found they were consistent with the location of the Hubbard’s
Ridge apartment complex on Point Boulevard in Garland. I had previously conducted
surveillance of Watson and observed him entering apartment 6103.

12. Onor about October 13, 2022, I spoke with the Denton CI, and he/she explained that
on the evening of October 12, 2022, the CI met with Watson at apartment 6103. The CI said
inside Watson’s apartment, in the living room, are two 3D printers, which were not
operating at the time of the CI’s visit. The CI also saw firearms and firearms parts and
accessories inside Watson’s apartment. The CI said when they talked about machinegun
conversion devices, Watson left the apartment empty handed, and returned with a plastic
bag containing what the CI believed to be around 50 Glock switches. The CI said Watson
demonstrated how to install a Glock switch. The CI said Watson could sell Glock switches
for the price of two for $50.00. The CI said he/she told Watson the CI had an associate who
wanted to buy Glock switches, and that Watson agreed to meet the CI’s associate to sell the
machinegun conversion devices. The CI provided me with three videos the CI had taken
inside Watson’s apartment that showed a plastic tub containing what I recognized as

firearms parts and accessories sitting on a table beside a pistol, two 3D printers sitting on a

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table with spools of plastic filament, one 3D-printed pistol frame, and two metal AR-style
lower receivers sitting with firearms parts and accessories on a couch. Below are captures

from the videos the CI provided me.

 

13. Between on or about October 16, 2022, and October 18, 2022, the Denton CI engaged

 

in text-message communications with Watson at my direction and arranged for an ATF
Special Agent acting in an undercover (UC) capacity to meet with Watson to buy ten Glock
switches for $600.

14. Onor about October 18, 2022, ATF conducted a video-recorded controlled buy of
machinegun conversion devices from Watson. In accordance with standard protocol, I
searched the Denton CI for any contraband and money with negative results. The CI and the

UC SA were equipped with audio- and video-recording equipment and prerecorded funds,

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and they traveled under surveillance to meet with Watson at his 6103 apartment on Point
Boulevard in Garland.

15. The UC SA and CI arrived in the parking lot and, after contacting Watson via text,

 

observed Watson exit the apartment to meet them in the parking lot. Then Watson, the UC
SA, and the CI entered Watson’s 6103 apartment. Watson said the machinegun conversion

devices were not yet complete. The UC SA entered the living room and saw two 3D printer

devices as depicted below.

 

16. The UC SA also saw a black pistol on the coffee table near the couch. Watson placed
components of Glock switches on top of a Tupperware container that appeared to contain
marijuana. The UC SA asked Watson if the Glock switches worked, which Watson
affirmed. Watson said he would show the UC SA how to ensure the Glock switches worked
and then retrieved the pistol from the coffee table to perform a function test. Watson
removed the back plate from the pistol and inserted a Glock switch where the back plate had
been. While talking with the UC SA, Watson completed the function test of the Glock pistol
with the Glock switch installed. Watson explained that when he began making the

machinegun conversion devices, he shipped the devices out of town.

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Watson also described occasions when he tested his Glock switches and AR auto sears to
ensure they functioned as fully automatic. The UC SA explained that he intended to ship the
Glock switches in the mail, and Watson responded saying he had mailed the devices by
placing them inside a Mr. Potato Head toy. Watson then removed the Glock switch from the
pistol and showed the UC SA a “prototype” of a flat-backed Glock switch machinegun
conversion device. Watson said he hoped to soon produce these devices, but the
“prototype” did not function properly. Watson also said he intended to begin producing
metal machinegun conversion devices.

17. | Watson and the UC SA discussed Watson’s prices for larger orders of machinegun
conversion devices in the future. Watson said between the two 3D printers, he could
produce about 400 machinegun conversion devices ina day. Watson began discussing
Wali, and indicated that while selling to Wali, Watson had possessed 800 machinegun
conversion devices at one time. Watson explained that prior to producing the order of 800
machinegun conversion devices, Wali had acquired close to “15” from Watson. The UC SA
understood this to mean that Wali had acquired close to 1,500 machinegun conversion
devices from Watson over time. Watson expressed knowledge that Wali was selling the
machinegun conversion devices. During the conversation, Watson was using a computer
tablet on the couch (pictured below), explaining that the files associated with the production

of the machinegun conversion devices were located on the computer tablet.

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18. The UC SA asked Watson if he had any AR auto sear devices, at which point
Watson retrieved a blue plastic AR auto sear from the floor of the apartment. The UC SA
bought two AR auto sears from Watson for $150, and Watson provided a third AR auto sear
for free. Watson said he had two associates who had been arrested and charged for
possession of machinegun conversion devices, including one who had sold around fifteen of
the devices to ATF. Watson said that another associate had been arrested in possession of
machinegun conversion devices in Mississippi. Watson explained his understanding of the
maximum criminal penalty for possessing machinegun conversion devices, which caused
him to dislike maintaining the devices.

19. Watson said the Glock switch he was printing for the UC SA would cause a Glock
pistol to function as a fully automatic machinegun once installed. Watson showed the UC
SA the 3D printer right before it began printing one of the components of the Glock switch.
As depicted below, after the 3D printer completed printing the components of the Glock

switches, Watson put on a glove and began assembling the Glock switches.

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20. Watson provided the UC SA with ten Glock switches for $600. Together with the
three AR auto sears, the UC SA paid Watson $750 for the machinegun conversion devices.
Watson used an AR-15-style lower receiver to demonstrate how to install an AR auto sear.
The UC SA and CI left Watson’s apartment and returned to a predetermined meeting
location where I searched the CI for contraband with negative results.

21. Between on or about October 23 and October 25, 2022, the UC SA and Watson
exchanged text messages where the UC SA arranged to buy 20 Glock switches and one
personally printed AR-15 style pistol with an installed AR auto sear for $4,000. The UC SA
asked Watson to print the Glock switches in red and glow-in-the-dark colors and Watson
agreed.

22. Onor about October 26, 2022, ATF conducted a second video-recorded controlled
buy from Watson at apartment 6103 on Point Boulevard in Garland. When entering
Watson’s apartment, as depicted below, the UC SA saw the two 3D printers and a pistol on

the couch.

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23. | Watson provided the UC SA with the personally made AR-15 style pistol. Watson
took the firearm back and demonstrated the features of the firearm to the UC SA. Watson
explained the process of making the AR-15 style pistol, including the components he
purchased and the amount of time it took to receive them. And Watson provided
recommendations for what type of magazines to use in the firearm.

24. Atthe UC SA’s request, Watson removed the AR auto sear from within the
personally made AR-15 style pistol. Watson said he was not concerned about traveling with
this type of firearm with a machinegun conversion device installed because it was not
visible. Watson explained that once he had completed manufacturing a flat-back Glock
switch, he would be able to ride in a vehicle with the Glock switch installed on a Glock pistol
because it would not be overtly noticeable.

25. Watson disassembled the personally made AR-15 style pistol again to apply oil to the
internal mechanisms, and the UC SA asked Watson to reinstall the AR auto sear, which

Watson did.

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As pictured below, Watson began to assemble the 3D-printed Glock switch components,
again putting a glove on and using a screwdriver to assemble the 3D-printed Glock switches.
Watson explained he had turned the knobs on the 3D printer to help it produce cleaner

prints than the last batch of Glock switches.

 

26. | Watson described a male customer who placed orders for 200 Glock switches.
Watson discussed losing money when dealing with this person after he stopped paying for
devices Watson had already printed. Watson said he had sold this person between 400 and
600 machinegun conversion devices, divided between both types. Watson explained the
time it took to print such a large quantity and explained how he learned which screws to use
when assembling the Glock switches to prevent them from cracking. The UC SA paid
Watson $4,000 and Watson provided the UC SA 20 Glock switches printed in both red and
glow-in-the-dark plastic and the personally made AR-15 style pistol with the installed AR
auto sear.

27. On or about April 4, 2022, Firearms Enforcement Officer (FEO) Eisenbise examined
15 Glock switches, and five AR auto sears, and a Glock pistol with an installed Glock switch,

all of which were purchased from Jones during the first two controlled buys.

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Santillan admitted to providing these machinegun conversion devices to Jones and admitted
he had received them from Wali. Wali had admitted to receiving the machinegun conversion
devices from “Xavier,” who is Watson. FEO Eisenbise conducted test fires of the Glock
pistol, as well as one exemplar of the Glock switches and two exemplars of the AR auto sears
and found that each of the tested devices allowed a firearm to shoot automatically, more than
one shot, without manual reloading, with a single function of the trigger. FEO Eisenbise
observed that each of the untested machinegun conversion devices were identical in size,
shape, dimension, design, and material to those test fired. FEO Eisenbise determined that
each of the devices and the firearm purchased from Jones met the definition of a
“machinegun” under 18 U.S.C. § 921(a)(23) and 26 U.S.C § 5845(a)(6) and (b). I provided
photographs of the Glock switches and AR auto sears purchased from Watson during the
two controlled purchases described above to FEO Eisenbise. Upon examination of the
photos, FEO Eisenbise determined that each of the items in the photos were a part or
combination of parts designed and intended to convert a firearm into a machinegun. FEO
Eisenbise advised me that each device met the definition of a machinegun under the Gun

Control Act and the National Firearms Act.

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28. Accordingly, based on the above facts and circumstances, I respectfully submit that
there is probable cause to believe that Xavier Desean Watson, also known as Xavier,
XAECO, ghostspc, nomore.wonderland, and Xavier Strapz, has illegally possessed and

transferred machineguns in violation of 18 U.S.C. §§ 922(0) and 924(a)(2).

 

Special Adént J. Massey e
Bureau of Alcohol, Tobacco, Firearms, and Explosives

SWORN AND SUBSCRIBED before me on this | STH day of November
2022, at /* a n Fort Worth, Texas.

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HAL R. RAY, JR. 4
UNITED STATES MAGISTRATE JUDGE

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